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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION


SMARTER AGENT, LLC,           §
                              §
              Plaintiff,      §
v.                            §        Case No. 6:19-cv-00182-ADA
                              §
REAL ESTATE WEBMASTERS, INC., §        Jury Trial Demanded
                              §
              Defendant.      §
                              §



   DEFENDANT REAL ESTATE WEBMASTERS, INC.’S PARTIAL MOTION TO
    DISMISS PLAINTIFF’S COMPLAINT FOR FAILURE TO STATE A CLAIM
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I.      INTRODUCTION

        Smarter Agent LLC’s (“Smarter Agent”) Complaint does not and cannot plausibly allege

direct infringement by Real Estate Webmasters, Inc. (“REW”) for seven of the eight Asserted

Patents, and the Complaint does not contain sufficient substance to plausibly allege willful

infringement for any of the Asserted Patents. Pursuant to Fed. R. Civ. P. 12(b)(6), these

insufficiently pled claims should be dismissed for failure to state a claim. 1

        First, based on how the Asserted Claims are drafted, all but one Asserted Claim recites a

method or system that would not even arguably be performed or used by REW itself, but rather by

an end-user using their “smartphone” (to the extent the claimed methods/systems are

performed/used by anyone, which REW obviously does not concede). Smarter Agent implicitly

admits this fact in the claim charts attached to its Complaint, all of which begin with one of the

following allegations for the Asserted Claims:

        •    “On information and belief, a smartphone (e.g., an iPhone or Samsung Galaxy) having
             installed thereon Real Estate Webmasters’ . . . SWPRE home search app . . . performs
             a computer-implemented method [as claimed].” [Dkt. #1, Exhibits I, J, K, L, M, and P]
             (emphasis added).

        •    “On information and belief, a user operating a smartphone (e.g., an iPhone or Samsung
             Galaxy) having installed thereon REW’s ‘SWPRE’ app . . . uses a system for location-
             aware search [as claimed].” [Dkt. #1, Exhibit O] (emphasis added).

Thus, as dictated by the language of the Asserted Claims and confirmed by Smarter Agent’s own

allegations in the Complaint, there can be no direct infringement by REW for seven of the eight

Asserted Patents. Smarter Agent’s direct infringement claims for those seven Asserted Patents

should therefore be dismissed for failure to state a claim.




1
 The present motion suspends REW’s obligation to respond to the entire complaint. See Meraz v. M. Susan Rice,
P.C., No. SA-09-CA-138-OG, 2009 WL 10669232, at *1-2 (W.D. Tex. May 15, 2009).

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       Second, Smarter Agent’s willful infringement claim against REW should be dismissed in

its entirety because it is devoid of any plausible factual support. Smarter Agent’s only allegation of

willfulness is based on a conclusory statement that “Defendant has been and is still . . . willfully

infringing . . . .” Such a threadbare allegation of willfulness falls far short of meeting the high

pleading standard for willful infringement because it is not supported by facts that would plausibly

show (1) REW’s pre-suit knowledge of the Asserted Patents and allegedly infringing conduct, and

(2) any egregious conduct by REW.

       For these reasons, this Court should grant REW’s motion and dismiss Plaintiff’s direct

infringement claims for seven of the eight Asserted Patents (all but the ’333 Patent) and the entirety

of its willful infringement claim.

II.    STATEMENT OF FACTS

       Smarter Agent filed its original Complaint on March 4, 2019, alleging that REW infringed

eight of its patents: U.S. Patent Nos. 7,457,628 (the “’628 Patent”), 8,442,550 (“the ʼ550 Patent”),

9,183,584 (“the ʼ584 Patent”), 9,754,317 (“the ʼ317 Patent”), 9,002,371 (“the ʼ371 Patent”),

9,754,333 (“the ʼ333 Patent”), 7,599,795 (“the ‘795 Patent”), 8,473,199 (“the ’199 Patent”)

(collectively, the “Asserted Patents”). Dkt. #1 at ¶¶ 15-50. All but one of the claims asserted by

Smarter Agent in the Complaint are method claims, which include claim 10 of the ʼ628 Patent,

claim 8 of the ʼ550 Patent, claim 12 of the ʼ584 Patent, claim 15 of the ʼ317 Patent, claim 1 of the

ʼ371 Patent, claim 7 of the ʼ333 Patent, and claim 1 of the ʼ199 Patent. Id. at ¶¶ 62, 75, 88, 101,

114, 127, and 164. The Complaint also asserts one system claim, which is claim 17 of the ʼ795

Patent. Id. at ¶ 146. The eight claims asserted in the Complaint are referred to collectively herein as

the “Asserted Claims.”

       With the exception of the claim asserted from the ’333 Patent, each of the method claims

asserted by Smarter Agent requires the performance of various steps that are explicitly recited in
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the claims as being performed by an “electronic device,” “mobile electronic device,” “handheld

wireless device,” or “wireless device,” all of which the claim charts attached to the Complaint allege

is embodied by “a smartphone (e.g., an iPhone or Samsung Galaxy).” Examples of these claimed

method steps, and the associated allegations from the claim charts, include (all emphasis is added):

 Asserted         Claim Language of                   Allegation from Claim Chart (excerpt)
 Claim            Example Step
 Claim 10,        “providing to an information        “On information and belief, a smartphone
 ’628 Patent      system information related to       (e.g., an iPhone or Samsung Galaxy) having
                  a geographic location               the app installed thereon (i.e., an electronic
                  associated with a position of       device) provides information related to a
                  an electronic device, the           geographic position of the electronic device
                  geographic location being           to one or more REW servers (i.e., an
                  located within a base grid”         information system).” [Dkt. #1, Ex. I at 2.]
 Claim 8,         “providing from an                  “On information and belief, a smartphone
 ’550 Patent      electronic device to an             (e.g., an iPhone or Samsung Galaxy) having
                  information system                  the app installed thereon (i.e., an electronic
                  information related to a            device) provides information related to a
                  geographic location                 geographic position of the electronic device
                  associated with a position of       to one or more REW servers (i.e., an
                  the electronic device, the          information system).” [Dkt. #1, Ex. J at 2.]
                  geographic location being
                  located within a base grid”
 Claim 12,        “providing from a mobile            “On information and belief, a smartphone
 ’584 Patent      electronic device to an             (e.g., an iPhone or Samsung Galaxy) having
                  information system                  the app installed thereon (i.e., a mobile
                  information related to a            electronic device) provides information
                  geographic location                 related to a geographic position of the
                  associated with a position of       mobile electronic device to one or more REW
                  the mobile electronic device,       servers (i.e., an information system), the
                  the information system being        smartphone located remote from the cloud-
                  at a geographic location            based data center.” [Dkt. #1, Ex. K at 2.]
                  remote from the geographic
                  location of the mobile
                  electronic device”
 Claim 15,        “providing from a mobile            “On information and belief, a smartphone
 ’317 Patent      electronic device to an             (e.g., an iPhone or Samsung Galaxy) having
                  information system                  the app installed thereon (i.e., a mobile
                  information related to a            electronic device) provides information
                  geographic location                 related to a geographic position of the
                  associated with a position of       mobile electronic device to one or more REW
                  the mobile electronic device,       servers (i.e., an information system), the
                  the information system being

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                  at a geographic location            smartphone located remote from the cloud-
                  remote from the geographic          based data center.” [Dkt. #1, Ex. L at 2.]
                  location of the mobile
                  electronic device”
 Claim 1,         “providing information from         “On information and belief, a smartphone
 ’371 Patent      a handheld wireless device          (e.g., an iPhone or Samsung Galaxy) having
                  to an information system            the app installed thereon (i.e., a handheld
                  located remote from the             wireless device) provides information related
                  handheld wireless device, the       to a geographic position of the mobile
                  information related to a            electronic device to one or more REW servers
                  geographic position of said         (i.e., an information system), the smartphone
                  handheld wireless device”           located remote from one or more REW
                                                      servers.” [Dkt. #1, Ex. M at 2.]
 Claim 1,         “identifying a geographic           “On information and belief, a smartphone
 ’199 Patent      position of a wireless              (e.g., an iPhone or Samsung Galaxy) having
                  device”                             the app installed thereon (i.e., a wireless
                                                      device) identifies a geographic position of
                                                      the wireless device.” [Dkt. #1, Ex. P at 2.]

       Similarly, the system claim asserted by Smarter Agent recites as an element of the system a

“wireless device,” which the claim chart attached to the Complaint alleges is “a smartphone (e.g.,

an iPhone or Samsung Galaxy).” And the claim chart for that claim alleges the claimed system is

used by “a user operating a smartphone (e.g., an iPhone or Samsung Galaxy) having installed

thereon REW’s ‘SWPRE’ app (‘the app’).” The claimed system element, and the associated

allegation from the claim chart, is as follows:

 Asserted      Claim Language of             Explanation from Claim Chart (excerpt)
 Claim         Example System
               Element
 Claim 17,     “a wireless device            “On information and belief, a user operating a
 ’795 Patent   configured to provide a       smartphone (e.g., an iPhone or Samsung Galaxy)
               geographic position of        having installed thereon REW’s “SWPRE” app (“the
               the wireless device to the    app”) uses a system for location-aware search.
               database”                                       ...
                                             A smartphone (e.g., an iPhone or Samsung Galaxy)
                                             having installed thereon the app (“a wireless device”)
                                             is configured to provide a geographic position of
                                             the wireless device (annotated in purple below). On
                                             information and belief, the wireless device provides
                                             the geographic position of the wireless device to the
                                             database.” [Dkt. #1, Ex. O at 1, 3.]

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        As these examples show, for seven of the eight Asserted Claims, the Complaint does not

allege any facts to show, nor could it, that REW itself performed the method steps recited by the

respective Asserted Claims (or that REW itself used the claimed system, in the case of the ’795

Patent). Instead, the Complaint alleges, as the claim language dictates it must, that the claimed

methods are performed by (or the claimed system is used by, in the case of the ’795 Patent) an end-

user using their “smartphone (e.g., an iPhone or Samsung Galaxy).”

        Despite the claim language and the allegations in its own claim charts as explained above,

the Complaint nevertheless conclusorily alleges that REW “has been and is directly infringing,

either literally or under the doctrine of equivalents, at least” the Asserted Claims identified above

“by using the Accused System.” See Dkt. # 1 at ¶¶ 62, 75, 88, 101, 114, 146, and 164.

        Smarter Agent’s willful infringement claim is similarly based on factually deficient

allegations. The Complaint’s only allegation relating to willfulness comes in a conclusory statement

that “Defendant has been and is still infringing, willfully infringing, and/or inducing others to

infringe the Patents . . . .” Dkt. #1 at ¶¶ 51-52. The Complaint alleges no facts to show that the REW

had any pre-suit knowledge of any of the Asserted Patents—instead, it only alleges that REW had

actual knowledge of each Asserted Patent after the Complaint was filed. Id. at ¶¶ 63, 76, 89, 102,

115, 128, 147, and 165. Nor does the Complaint allege any facts to show that REW’s alleged

conduct was so egregious as to warrant a finding of willfulness.

III.    ARGUMENT

        A.      Legal Standards Governing this Motion to Dismiss

        Plaintiffs are required under the Federal Rules to allege claims that “contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

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do not suffice.” Iqbal, 556 U.S. at 678. Rather, the complaint must contain “further factual

enhancement” sufficient to move the claim from “sheer possibility that a defendant has acted

unlawfully” to “facial plausibility”—i.e., “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. Without such facts,

a complaint cannot satisfy the requirement of “giv[ing] the defendant fair notice of what the . . .

claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 555.

       The plausibility requirement applies to claims for direct, joint, indirect, and willful patent

infringement claims. See Ruby Sands LLC v. Am. Nat’l Bank of Texas, No. 2:15-CV-1955-JRG,

2016 WL 3542430, at *2 (E.D. Tex. June 28, 2016) (“[T]o state a claim for direct infringement, a

plaintiff must explicitly plead facts to plausibly support the assertion . . . .’”); Lyda v. CBS Corp.,

838 F.3d 1331, 1339 (Fed. Cir. 2016) (“like claims of induced or contributory infringement,

allegations of joint infringement require elements beyond those for the more typical act of direct

infringement”); Jao Control & Monitoring Sys., LLC v. Protect America, Inc., No. 1-14-CV-134-

LY, 2015 WL 3513151, *3 (W.D. Tex. Mar. 24, 2015) (“‘[T]he general principles of Twombly and

Iqbal must be applied to indirect infringement claims.’”) (internal citation omitted); Diamond

Grading Techs., Inc. v. American Gem Society, No. 2:14-cv-1171-RWS, 2016 WL 2902482, at *2

(E.D. Tex. Mar. 30, 2016) (dismissing willfulness claim for lacking a “plausible allegation of

subjective knowledge”).

               1.      Direct infringement

       “[T]o state a claim for direct infringement, a plaintiff must explicitly plead facts to plausibly

support the assertion that a defendant ‘without authority makes, uses, offers to sell, or sells any

patented invention during the term of the patent.’” Ruby Sands LLC v. Am. Nat’l Bank of Tex., No.

2:15-CV-1955-JRG, 2016 WL 3542430, at *2 (E.D. Tex. June 28, 2016) (quoting 35 U.S.C.

§ 271(a)). “[D]irect infringement requires a single party to perform every step of a claim method.”
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Aristocrat Techs. Australia Pty. Ltd. v. Int’l Game Tech., 709 F.3d 1348, 1353 (Fed. Cir. 2013); see

also, Meyer Intellectual Props. Ltd. v. Bodum, Inc., 690 F.3d 1354, 1366 (Fed. Cir. 2012) (“[D]irect

infringement of a method claim requires a showing that every step of the claimed method has been

practiced.”).

                  2.   Willful infringement

       In order to recover enhanced damages for willful patent infringement, a plaintiff must satisfy

the requirements of 35 U.S.C. § 284 as interpreted by the United States Supreme Court in Halo

Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1935 (2016). In Halo, the Supreme Court held

that the “sort of conduct warranting enhanced damages has been variously described in our cases

as willful, wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or—indeed—

characteristic of a pirate.” Id. at 1932. Thus, under Halo, while “courts should continue to take into

account the particular circumstances of each case,” enhanced damages are limited to “egregious

cases of misconduct beyond typical infringement,” such as those “typified by willful misconduct.”

Id. at 1933-35.

       After Halo, the Federal Circuit has confirmed that “[k]nowledge of the patent alleged to be

willfully infringed continues to be a prerequisite to enhanced damages.” WBIP, LLC v. Kohler Co.,

829 F.3d 1317, 1341 (Fed. Cir. 2016). Accordingly, in order to state a claim for willfulness, a

complaint must plausibly show pre-suit knowledge of the asserted patents and the alleged

infringement. See, e.g., NetFuel, Inc. v. Cisco Sys. Inc., No. 5:18-cv-02352-EJD, 2018 U.S. Dist.

LEXIS 159412, at *8 (N.D. Cal. Sep. 18, 2018) (“[A] willfulness claim asserted in the original

complaint must necessarily be grounded exclusively in the accused infringer’s pre-filing conduct.”).

       Courts in this District and elsewhere have applied Halo in determining whether a willfulness

claim is plausibly alleged and have dismissed those that do not show the requisite egregious

conduct. See, e.g., Meetrix IP, LLC v. Cisco Sys., Inc., No. 1-18-CV-309-LY, 2018 WL 8261315,
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at *3-4 (W.D. Tex. Nov. 30, 2018) (dismissing willfulness claim that “does not allege any facts

raising a plausible inference of the egregious behavior required under Halo”); Varian Med. Sys.,

Inc. v. Elekta AB, No. 15-871, 2016 WL 3748772, at *8 (D. Del. Jul. 12, 2016) (dismissing

willfulness allegation for failing to state facts showing that the defendants’ actions “actually

amounted to an egregious case of infringement of the patent”); CG Tech. Dev., LLC v. Zynga, Inc.,

No. 2:16-CV-859-RCJ-VCF, 2017 WL 662489, at *4 (D. Nev. Feb. 17, 2017) (“Under Halo,

Plaintiffs have failed to state a claim for willful infringement because they have failed to allege any

facts suggesting that Defendant’s conduct is ‘egregious . . . beyond typical infringement.’”) (quoting

Halo, 136 S. Ct. at 1935 (alteration in original)); Finjan, Inc. v. Cisco Sys., Inc., No. 17-cv-00072-

BLF, 2017 WL 2462423, at *5 (N.D. Cal. Jun. 7, 2017) (“[T]he Complaint] makes no specific

factual allegations about Cisco’s subjective intent, or any other aspects of Cisco’s behavior that

would suggest its behavior was ‘egregious.’”) (internal citation omitted).

       B.      The Complaint Fails to State a Claim for Direct Infringement of Seven of the
               Eight Asserted Patents

       “Direct infringement [of a method claim] under § 271(a) occurs where all steps of [the]

claimed method are performed by or attributable to a single entity.” Nalco Co. v. Chem-Mod, LLC,

883 F.3d 1337, 1351 (Fed. Cir. 2018) (quoting Akamai Techs., Inc. v. Limelight Networks, Inc., 797

F.3d 1020, 1022 (Fed. Cir. 2015) (en banc)). Direct infringement of a system claim requires that

each and every element of the claim is met by the accused system. See Disc Disease Sols. Inc. v.

VGH Sols., Inc., 888 F.3d 1256, 1260 (Fed. Cir. 2018).

       As explained in detail above, for the Asserted Claim of each of the ʼ628 Patent, ʼ550 Patent,

ʼ584 Patent, ʼ317 Patent, ʼ371 Patent, and ʼ199 Patent, which are all method claims, Smarter Agent

has not alleged and cannot allege any facts to show that REW itself performed any of the method

steps required by the respective Asserted Claims. In fact, the Complaint alleges that it is end-users


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using their “smartphones” that have performed the claimed method steps, not REW. Similarly, for

the Asserted Claim of the ’795 Patent, which is a system claim, Smarter Agent has not alleged and

cannot allege any facts to show that REW itself used the claimed system, and in fact the Complaint

alleges that it is end-users using their “smartphones” that have used the claimed system, not REW.

       Despite these facts, the Complaint nevertheless conclusorily alleges that REW has directly

infringed each of the Asserted Claims from those patents “by using the Accused System,” without

any factual allegations to plausibly show REW performed the claimed methods or used the claimed

system. See Dkt. #1 at ¶¶ 62, 75, 88, 101, 114, 146, and 164. Such conclusory allegations are

insufficient to plead direct infringement under the Twombly/Iqbal plausibility standard. See, e.g.,

Nu-You Techs., LLC v. Beauty Town Int’l Inc., No. 3:15-CV-03433-N, 2016 WL 4717991, at *2

(N.D. Tex. July 7, 2016) (dismissing the Plaintiff’s direct infringement claim because “‘conclusory

allegations, unwarranted factual inferences, or legal conclusions’ . . . are insufficient to support a

claim for direct infringement”). Accordingly, this Court should dismiss Smarter Agent’s direct

infringement claims against REW for the ʼ628 Patent, ʼ550 Patent, ʼ584 Patent, ʼ317 Patent, ʼ371

Patent, ʼ199 Patent, and ’795 Patent.

       C.      The Complaint Fails to State a Claim for Willful Infringement

       In Halo, the Supreme Court held that “enhanced damages . . . are not to be meted out in a

typical infringement case, but are instead designed as a ‘punitive’ or ‘vindictive’ sanction for

egregious infringement behavior.” Id. at 1932. Thus, enhanced damages are limited to “egregious

cases of misconduct beyond typical infringement.” Id. at 1933-35.

       Moreover, the Supreme Court also made clear in Halo that willfulness is to be “measured

against the knowledge of the actor at the time of the challenged conduct.” Id. at 1933. Thus, pre-

suit knowledge of the asserted patents is required for allegations of willful infringement. See WBIP,

829 F.3d at 1341 (noting that after Halo “[k]nowledge of the patent alleged to be willfully infringed
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continues to be a prerequisite to enhanced damages”); NetFuel, 2018 U.S. Dist. LEXIS 159412, at

*8 (“[A] willfulness claim asserted in the original complaint must necessarily be grounded

exclusively in the accused infringer’s pre-filing conduct.”) (emphasis added).

       Here, Smarter Agent’s willful infringement allegations are bare conclusions without support

of any facts that would plausibly show willfulness. Such threadbare allegations do not plausibly

show either the knowledge or egregiousness required for willfulness under Halo.

               1.      Smarter Agent fails to allege any facts to plausibly show that REW had pre-
                       suit knowledge of the Asserted Patents and the alleged infringement

       Following Halo—and its emphasis on evaluating willfulness at the time contemporaneous

with the time of the acts alleged in the complaint—numerous district courts, including at least one

court in this District, have required pre-suit knowledge of the asserted patents for allegations of

willful infringement. See, e.g., Inhale, Inc v. Gravitron, LLC, No. 1-18-CV-762-LY, 2018 WL

7324886, at *3 (W.D. Tex. Dec. 10, 2018) (dismissing willful infringement claims because the

“complaint fails to allege facts raising a reasonable inference of pre-suit knowledge of the [asserted

patent]”); Software Research, Inc. v. Dynatrace LLC, 316 F. Supp. 3d 1112, 1137 (N.D. Cal. 2018)

(dismissing willful infringement claim in which plaintiff failed to plead pre-suit knowledge of the

asserted patents and thus had not shown piratical behavior under Halo); Radware, Ltd. v. F5

Networks, Inc., No. 5:13-CV-02024-RMW, 2016 WL 4427490, at *6 (N.D. Cal. Aug. 22, 2016)

(“Halo did not disturb this ruling [from Seagate that willful infringement requires pre-filing, not

post-filing, conduct], as post-filing conduct was not at issue in Halo.”); Cooper Lighting, LLC v.

Cordelia Lighting, Inc., No. 1:16-CV-2669-MHC, 2017 U.S. Dist. LEXIS 56140, at *7-8 (N.D. Ga.

Apr. 6, 2017) (holding that “Plaintiff’s willful infringement claim, which is based solely on

Defendants’ post-filing conduct, fails as a matter of law”); see also, Adidas Am., Inc. v. Skechers

USA, Inc., No. 3:16-cv-1400-SI, 2017 U.S. Dist. LEXIS 89752, at *12-13 (D. Or. Jun. 12, 2017);


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CG Tech. Dev., LLC v. FanDuel, Inc., No. 2:16-cv-00801-RCJ-VCF, 2017 U.S. Dist. LEXIS 1511,

at *16-17 (D. Nev. Jan. 4, 2017); Wis. Alumni Research Found. v. Apple, Inc., No. 14-cv-062-

WMC, 2017 U.S. Dist. LEXIS 86418, at *31 n.6 (W.D. Wis. Jun. 6, 2017); Dorman Prods. v.

PACCAR, Inc., 201 F. Supp. 3d 663, 681 (E.D. Pa. 2016).

       Moreover, this Court recently acknowledged the requirement to plausibly show pre-suit

knowledge of the asserted patents in order to state a claim for willful infringement. See Frac Shack

Inc. v. AFD Petroleum (Texas) Inc., No. 7:19-cv-00026, Dkt. #56 at 10 (W.D. Tex. Jun. 13, 2019)

(Albright, J.) (“Ordinarily the Court would dismiss an allegation of willfulness without prejudice

absent a specific allegation of pre-suit knowledge of the asserted patents.”).

       As explained above, the Complaint does not plead any facts to plausibly show that REW

had pre-suit knowledge of any of the Asserted Patents. Instead, Smarter Agent merely alleges that

REW had actual knowledge of the Asserted Patents only after the Complaint was filed. See Dkt. #1

at ¶¶ 63, 76, 89, 102, 115, 128, 147, and 165. Nor does Smarter Agent allege that it ever took steps

to notify REW of the Asserted Patents or the alleged infringement. Absent facts to plausibly show

pre-suit knowledge of both the Asserted Patents and the alleged infringement, Smarter Agent’s

willful infringement claim fails as a matter of law and should be dismissed. See, e.g., Inhale, 2018

WL 7324886, at *3 (dismissing willful infringement claims because the “complaint fails to allege

facts raising a reasonable inference of pre-suit knowledge of the [asserted patent]”).

               2.      Smarter Agent fails to allege any facts to plausibly show that REW engaged
                       in egregious, piratical conduct

       In addition to the pre-suit knowledge requirement, courts, including at least one in this

District, have also applied Halo in dismissing willfulness claims that do not plead facts that would

plausibly show the requisite egregious conduct. See, e.g., Meetrix, 2018 WL 8261315, at *3-4

(dismissing willfulness claim that “does not allege any facts raising a plausible inference of the


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egregious behavior required under Halo”); Finjan, 2017 WL 2462423, at *5 (dismissing plaintiff’s

willful infringement claim because, inter alia, the complaint failed to make sufficient factual

allegations that defendant’s behavior was “egregious . . . beyond typical infringement”) (internal

quotation marks omitted); Varian Med. Sys., 2016 WL 3748772, at *8 (dismissing willfulness

allegation for failing to plead facts showing that the defendants’ actions “actually amounted to an

egregious case of infringement of the patent”); Jenkins v. LogicMark, LLC, No. 3:16-CV-751-HEH,

2017 WL 376154, at *5 (E.D. Va. Jan. 25, 2017) (“[A]t a minimum, plaintiffs alleging willful

infringement must plead facts sufficient to support an inference ‘plausible on its face’ that the

alleged conduct is of the egregious nature described in [Halo].”).

       With a mere conclusory statement that “Defendant has been and is still . . . willfully

infringing” (Dkt. #1 at ¶¶ 51-52), Smarter Agent has also failed to allege any facts to plausibly show

that REW engaged in the type of “egregious, piratical” conduct required for willful infringement.

See Halo, 136 S. Ct. at 1935. For at least this additional reason, Smarter Agent’s willful

infringement claim against REW should be dismissed in its entirety for failure to state a claim.

IV.    CONCLUSION

       For the foregoing reasons, Defendant REW respectfully requests that the Court grant this

motion and dismiss Smarter Agent’s direct infringement claims for the ʼ628 Patent, ʼ550 Patent,

ʼ584 Patent, ʼ317 Patent, ʼ371 Patent, ʼ199 Patent, and ’795 Patent and its willful infringement

claim for all eight Asserted Patents.




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Dated: July 22, 2019
                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on July 22, 2019, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will send notification of such filing to all counsel of record.


                                                   /s/ Gilbert A. Greene
                                                   Gilbert A. Greene
